Case 3:11-cr-30142-DRH    Document 53      Filed 01/18/12   Page 1 of 2   Page ID #133




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.

 RYAN BRAZEL,

       Defendant.                               Case No. 11-CR-30142-DRH



                                      ORDER

 HERNDON, Chief Judge:

       Now before the Court is defendant defendant Brazel’s motion for issuance of

 subpoena duces tecum and an early return (Doc. 51). Specifically, defendant moves

 pursuant to Rule 17(c) for the issuances of subpoenas duces tecum from Concetta R.

 Lupardo, CPA PA 2263 NW 2nd Avenue #205, Boca Raton FL 33431 as the custodian

 of records for Jennifer Kirk (defendant in a related cause) seeking profit and loss

 statements for Creative Vacation Solutions (CVS) and Universal Marketing Solutions

 (UMS). Defendant maintains that he needs these documents to make an informed

 decision as to whether or not he wishes to cooperate with the government or to

 continue forward with trial in this cause and that these documents are not available

 in full from the government’s discovery. The government does not oppose the motion

 (Doc. 52). Thus, the Court GRANTS the motion. The Court DIRECTS that subpoena

 duces tecum be issued to Concetta Lupardo for the above referenced documents, and



                                      Page 1 of 2
Case 3:11-cr-30142-DRH    Document 53     Filed 01/18/12   Page 2 of 2   Page ID #134




 that the documents be returned within five days of service of the subpoena.

             IT IS SO ORDERED.

             Signed this 17th day of January, 2012.

                                                                   David R. Herndon
                                                                   2012.01.17
                                                                   16:29:27 -06'00'
                                              Chief Judge
                                              United States District Court




                                     Page 2 of 2
